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                                                                                  20. Sellers
                                                                                        Pg 13
                                  Statement ofLot
                                                181A Pg 1 of 2
                                                      EXHIBIT 20 - SELLER'S
 Southwestern Abstract & Title Co.
 1125 South Main Street
 Las Cruces, NM 88005
                                                      STATEMENT, LOT 1A (5.26.22)
                                                                                                     C                  ALTA Seller's Settlement Statement



 (575) 523-8561


 File#:                      7434-GC-2022                  Property       510 South Telshor Boulevard Settlement Date    05/ 26/2022
 Prepared :                  05/26/2022                                   Las Cruces, NM 88011         Disbursement Date 05/ 26/ 2022
 Escrow Officer:             Gricel R. Chavez                             M ESILLA VALLEY MALL
                                                                          REPLAT NO 5 (BK 24 PG
                                                                          581-582 - 2020257) Lot: 1A
                                                                          S: 16 T: 23S R: 2E
                                                           Buyer          FSLRO 510 South Telshor
                                                                          Las Cruces. LLC
                                                                          2000 McKinney Avenue
                                                                          Suite 1000
                                                                          Dallas, TX 75201
                                                           Seller         Mesilla Valley Ventures. LLC
                                                                          154 North Festival Drive
                                                                          Building D
                                                                          El Paso, TX 79912
                                                           Lender




                                            Description                                                            Seller
                                                                                                  Debit                               Credit
 Primary Charges & Credits
 Sales Price of Property                                                                                                                    $2.545,000.00
 Rent Holdback                                                                                             $35,000.00
 Esc row Holdback                                                                                         $200,000.00
 2021 Property Taxes 1905155                                                                                $1,535.02


 Prorations/Adjustments
 County Taxes 01/01/2022 to 08/ 08/2022                                                                     $1.851.16
 Credit water line installation                                                                            $23.977.54


 Loan Charges
 Escrow holdback fee to Southwestern Abstract & Title Co.                                                    $100.00


 Government Recording and Transfer Charges
 Recording Fees to Southwestern Abstract & Title Co.                                                         $300.00


 Commissions
 Listing Agent Commission to CP Partners Commercial Rea l Estate                                          $101,800.00


 Title Charges
 Title - Settlement Fee to Southwestern Abstract & Title Co.                                                 $541.56
 Title - Owner's NM-6 Endorsement to Southwestern Abstract & Title Co.                                       $100.00
 Title - Owner's Title Policy to Southwestern Abstract & Title Co.                                          $8.506.00


 Miscellaneous Charges
 Legal Fees to Ferguson Braswell Fraser Kubasta PC                                                         $50.000.00
 Legal Fees to Weycer, Kaplan, Pulaski & Zuber, P.C.                                                       $75,000.00
 Payoff Claim of Lien to New Mexico Real Estate Advisors. Inc.                                             $47.572.88
 Payoff Claim of Lien to R2 Contractors Specialty, Inc.                                                     $4.825.32
 Payoff Claim of Lien to Utility Block Company, Inc.                                                       $70.981.70
 Survey Invoice (s) to Partner Engineering and Science, Inc.                                                $6,350.00




                                                                                                                    9
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                                                                                    Pogc 1 of 2                                                    7434·GC·2022
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                                                                                  20. Sellers
                                                                                        Pg 14
                                  Statement ofLot
                                                181A Pg 2 of 2


                                                          Debit                          Credit
                         Subtotals                                        $628,441.18             $2,545,000.00
                        Due to Seller                                   $ 1,916,558.82
                          Totals                                        $2,545,000.00             $2,545,000.00


 See signature addendum




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                                                                  Pogc 2 of 2                             7434-GC-2022
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                                                PRODUCTION WKPZ 010 - 2
